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| John Doe v. The Administrators of the Tulane Educational Fund,Civil Action
No. 19-11403, Section R, Mag. Div. 1
Brian Capitelli to: efile-vance 09/19/2019 02:42 PM

_ "Nan Alessandra \(1297\)", "Kim Boyle \(1790\)"", "Boyd, Howard

Cc: TT" "Ellie Schilling™

 

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Dear Judge Vance,

We have previously notified Magistrate Judge van Merveeld that the parties have received a settlement
in this matter. At this time, the settlement agreement has been finalized but we are still waiting on
signatures from all parties. Therefore, we would request that the Court enter a 60 day Dismissal
without Prejudice Order at this time. Please let us know if you require any additional information.

Respectfully,

Brian J. Capitelli

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